














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






  NO. PD 1417-08





DARRELL GLENN LIVINGSTON, Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S  PETITION FOR DISCRETIONARY REVIEW


 FROM THE FOURTEENTH COURT OF APPEALS


BRAZORIA  COUNTY






	Per curiam.  Keasler and hervey, JJ., dissent.



ORDER


	The petition for discretionary review violates Rule of Appellate Procedure 68.5,
because the petition is longer than fifteen (15) pages.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition and copies must be filed
in the Court of Criminal Appeals of Texas within thirty (30) days after the date of this order.


En banc.


Delivered:   March 11, 2009

Do Not Publish.


